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                          UNITED STATES COURT OF APPEALS
                               FOR THE FIRST CIRCUIT


                                    Nos. 23-1115, 23-1139


                              UNITED STATES OF AMERICA,
                                 Appellee/Cross-Appellant

                                               v.

                                   DAVID DEQUATTRO,
                             Defendant - Appellant/Cross-Appellee




          APPELLANT DAVID DEQUATTRO’S ASSENTED-TO MOTION TO
                EXTEND TIME TO FILE BRIEF AND APPENDIX

            Now comes the appellant David DeQuattro and respectfully moves this

      Honorable Court to extend the deadline for filing his brief and joint appendix 30

      days to Friday, August 4, 2023.

            As reason therefor, appellant states:

            1.      On February 10, 2023, this Court ordered the above-captioned appeals

      “consolidated for scheduling and oral argument” with the appeals relating to the

      convictions of Mr. DeQuattro’s co-defendant, Cedric Cromwell (Nos. 23-1116 and

      23-1138).

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            2.     On May 26, 2023, this Court set a briefing schedule requiring Mr.

      DeQuattro and Mr. Cromwell to file their briefs and appendix by July 5, 2023.

            3.     On June 28, 2023, Mr. Cromwell, with the government’s assent, filed

      a motion to extend his deadline for filing a brief and appendix for 30 days to

      August 4, 2023. In support of that request, counsel for Mr. Cromwell represents

      that, due to his relatively recent appointment and the voluminous record in this

      case, he “will be unable to complete and finalize Appellant’s Appeal and Appendix

      within” the current deadline.

            4.     While Mr. DeQuattro would otherwise have been prepared to file his

      brief by the July 5, 2023 deadline, he has not been able to compile a Joint

      Appendix, as preferred under Fed. R. App. P. 30(b)(1), because counsel for Mr.

      Cromwell is not yet prepared to provide his designations for inclusion in such

      Appendix for reasons stated by counsel for Mr. Cromwell.

            5.     Mr. DeQuattro accordingly requests that his deadline for filing a brief

      and appendix be extended until August 4, 2023 to align with the briefing schedule

      in Mr. Cromwell’s appeals and to facilitate agreement on a Joint Appendix.

            6.     The government assents to the granting of this Motion.



                                                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

            I, Martin G. Weinberg, hereby certify that on this 28th day of June, 2023, I
      caused one copy of the within Motion to be served on all parties of record via this
      Court’s ECF system.
                                                  /s/ Martin G. Weinberg
                                                  Martin G. Weinberg
